Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 1 of 50 PageID: 1



               IN THE UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF NEW JERSEY


MARILYN DELAHOY, on behalf of
herself and all others similarly situated,

             Plaintiff,

      v.                                         JURY TRIAL DEMANDED

SAMSUNG ELECTRONICS                                   CLASS ACTION
AMERICA, INC. and SAMSUNG
ELECTRONICS CO., LTD.,

             Defendants.


                          CLASS ACTION COMPLAINT

      Plaintiff Marilyn Delahoy, individually and on behalf of all others similarly

situated (the “Class”), through her undersigned counsel, alleges as follows against

Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(together “Samsung”).

                                   INTRODUCTION

       1.    Plaintiff and the Class are purchasers of Samsung electric ranges (the

“Ranges”) that include dangerous latent defects in the design of their front-mounted

burner control knobs that make the Ranges susceptible to unintentional activation (the

“Defect”). The control knobs on the Ranges are prone to, and do, rotate as a result of

minor, inadvertent contact. When the knobs on the Ranges are accidentally and

inadvertently contacted, the burners heat their electric cooktops without warning to the


                                             1
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 2 of 50 PageID: 2



consumer. This unintentional activation of the Ranges’ cooktops in turn creates a

hazardous condition and serious risk of fire, property damage, and personal injury.

       2.    The Ranges span several model numbers, but they all contain the same

defect and are all subject to unintentional activation.

       3.    The defective condition of the Ranges is the result of the low detent (catch

that prevents motion until released) force and tiny distance the burner control knobs

need to travel to be turned to the “on” position, which is inadequate to prevent

unintentional activation. In other words, the ease with which the knobs can be pushed

in and rotated without resistance fails to prevent the cooktop from being turned on

inadvertently.

       4.    Further, the control knobs are placed on the Ranges without the necessary

guards to prevent such unintentional activation.

       5.    The propensity of the Ranges to be unintentionally activated—i.e., turned

on by accident—creates a significant and largely unappreciated safety risk for Plaintiff

and the Class. The Defect renders the Ranges hazardous and unsafe for normal and

expected use. The Defect substantially impedes the central function of the Ranges,

which serve one purpose: safe cooking.

       6.    Since at least 2014, Samsung has known that its electric Ranges were

susceptible to unintentional activation. Consumers have filed numerous incident

reports about the Defect with the U.S. Consumer Product Safety Commission (the


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Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 3 of 50 PageID: 3



“CPSC”). Consumers have also filed complaints with Samsung directly via product

reviews and online community forums.

       7.    In addition, Samsung has expressly admitted that the Ranges contain a

defective and dangerous condition, as it maintains a page on its website titled “Range

knobs accidentally turn on cooktop too easily,” the existence of which further confirms

the company’s knowledge of the Defect.

       8.    Despite this admission—and rather than curing the Defect—Samsung has

instead elected to conceal it from Plaintiff and the Class by including misleading

information in the above-described web page. On that page, Samsung falsely claims

that, despite the unintentional activation and fire hazard they present, the Range knobs

must be designed the way they are to comply with international standards.

       9.    Samsung also advises consumers that they can purchase after-market

third-party cooktop knob covers or locks to circumvent the inherently defective design

of the knobs—again, instead of curing the Defect.

       10. More recently, Samsung has updated the above web page to inform Range

owners that they can purchase replacement knobs from Samsung to guard against the

Defect at an additional cost to the consumer—brazenly seeking to profit from a serious

safety hazard that Samsung itself created.

       11. Because of Samsung’s false and misleading statements, and the

company’s concealment of the Defect, Plaintiff and the Class were deceived and


                                             3
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 4 of 50 PageID: 4



deprived of the benefit of their bargain. A range that turns on without a consumer’s

knowledge has no value because it cannot be used safely. Alternatively, the Ranges

have far less value than promised at the point of sale, because a range prone to

unintentional activation, and the attendant risk of harm, is less valuable than one that

operates safely.

          12. The below allegations are based upon personal knowledge as to Plaintiff’s

conduct and are made on information and belief as to the acts of others.

                            JURISDICTION AND VENUE

          13. This Court has original jurisdiction pursuant to the Class Action Fairness

Act, 28 U.S.C. § 1332(d), because (a) at least one member of the Class is a citizen of a

state different from that of Defendants, (b) the amount in controversy exceeds

$5,000,000, exclusive of interest and costs, (c) the Class consists of more than 100

class members, and (d) none of the exceptions under 28 U.S.C. § 1332(d) apply to this

action.

          14. The United States District Court for the District of New Jersey has

jurisdiction over Defendants because they reside and transact business in New Jersey,

have purposely availed themselves of the laws of New Jersey, and because many of the

specific events giving rise to this action occurred in New Jersey.

          15. Venue is proper in this District under 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in


                                            4
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 5 of 50 PageID: 5



this District. Defendants have marketed, advertised, and sold the Ranges, and otherwise

conducted extensive business, within this District. In addition, both Defendants’

principal place of business is in Ridgefield Park, New Jersey.

                                      PARTIES

        16.   Plaintiff Marilyn Delahoy is a citizen and resident of Niagara Falls, New

York.

        17.   Defendant Samsung Electronics Co., Ltd. (“SECL”) is a South Korean

multinational corporation located in Seoul, South Korea. SECL designs, manufactures,

and distributes Ranges for sale in this jurisdiction. According to samsung.com, SECL’s

“North America Headquarters” is in Ridgefield Park, New Jersey. SECL also regularly

monitors its wholly owned subsidiaries’ financial risk arising from operating activities

and regularly dispatches financial risk managers to its regional headquarters in the

United States.

        18.   SECL is and has at all times relevant been in the business of

manufacturing, distributing, marketing, promoting, and selling the Ranges throughout

the United States and in this jurisdiction. SECL purposely directs its conduct toward

this District and engages in a continuous course of business in this District, both by

intentionally locating its wholly owned subsidiary in this District and by selling

thousands of ranges and other consumer goods in this District every year.




                                           5
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 6 of 50 PageID: 6



      19.    Defendant Samsung Electronics America, Inc. (“SEA”) is a wholly owned

subsidiary of SECL. SEA is a New York corporation with its headquarters in

Ridgefield Park, New Jersey. SEA warranties products designed, manufactured, and

distributed by SECL, and it acts as SECL’s agent in the processing of warranty claims

related to defects in manufacturing or materials used by SECL during the

manufacturing process.

      20.    SEA is and has at all relevant times been in the business of distributing,

marketing, promoting, and selling the Ranges described herein throughout the United

States and in this jurisdiction. SEA resides in and engages in a continuous course of

business in this District and sells thousands of ranges and other consumer goods in this

District every year.

      21.    SECL and SEA (collectively, “Defendants” and/or “Samsung”) are in the

business of manufacturing, producing, distributing, and selling consumer appliances,

including Ranges, to customers throughout the United States, both directly and through

its network of authorized dealers.

            ALLEGATIONS SPECIFIC TO PLAINTIFF DELAHOY

      22.    In or around October 2019, Ms. Delahoy purchased a new Samsung

Range Model Number NE58F9710WS/AA from Orville’s—an authorized Samsung

reseller—in Amherst, New York for a total of $1,266.94, including accessories,

delivery, and taxes. The Range itself cost $1,096.


                                          6
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 7 of 50 PageID: 7



      23.    Ms. Delahoy reviewed Samsung marketing materials, including in-store

promotional materials and online advertisements, before she purchased her Range. She

was persuaded to purchase the Range because Samsung’s placement of the knob

controls on the Range’s front, rather than above its cooktop, appeared to make it safer.

Indeed, front-mounted knobs allowed Ms. Delahoy to control the cooktop’s

temperature without having to reach across the Range.

      24.    Ms. Delahoy was aware that her Range was covered by a Samsung

warranty. The warranty was included in the user manual that came with her Range.

The warranty provides that Samsung warrants against manufacturing defects in

materials and workmanship for one year. Absent this warranty, Ms. Delahoy would

not have purchased her Range.

      25.    Ms. Delahoy purchased the Range for personal, family, or household use.

      26.    Ms. Delahoy uses, and at all times has used, her Range in a normal and

expected manner.

      27.    Ms. Delahoy began noticing that her Range was being turned on

inadvertently in the spring of 2021, when contractors working in her kitchen

unintentionally activated it on two separate occasions.

      28.    In early 2022, Ms. Delahoy inadvertently activated the Range herself

while she was cooking. The cooktop heated while Ms. Delahoy had bacon grease

cooling on what she thought was an inactive back burner. She did not realize the back


                                          7
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 8 of 50 PageID: 8



burner of the Range had been activated until she heard bacon grease cracking and saw

it splattering all over her kitchen. In handling this emergency, however, Ms. Delahoy

burned her arm, which lead to a blister than has now become a scar:




      29.     Just weeks after, Ms. Delahoy’s Range was unintentionally activated by a

guest attempting to serve themself a slice of pizza. Ms. Delahoy and her guests soon

began to smell smoke in her nearby living room. Ms. Delahoy quickly returned to the

kitchen, where she found that the pizza box had caught fire from her Range’s burner.

Ms. Delahoy disposed of the burning box in the snow outside her house.

      30.     Shortly thereafter, Ms. Delahoy contacted Samsung about her Range and

the Defect.

      31.     At that time, a Samsung representative told her that it was interested in

her claim and, also, that the company would send out a technician to repair her Range.



                                           8
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 9 of 50 PageID: 9



         32.   While visiting the Delahoy home on or about March 1, 2022, the Samsung

technician told her that the burner controls were compliant with Samsung’s intended

design—but also agreed that they were dangerous. The technician promised to escalate

Ms. Delahoy’s concerns to Samsung’s Research & Development Division. He also

further suggested that Ms. Delahoy purchase knob covers for her burner controls and

advised that Samsung might be able to send her a set of such covers.

         33.   Ms. Delahoy told the Samsung technician that this Range should be

recalled because its poor design would eventually cause a fire leading to someone’s

death.

         34.   Despite Ms. Delahoy’s input, and the Samsung technician’s assurances

that he would escalate the issue and provide knob covers, she still has not received any

fix to the Defect.

         35.   Rather, Ms. Delahoy received only an email from Samsung’s Specialty

Claims department informing her that the technician was unable to find manufacturing

defects in her Range and that Samsung was not able to proceed with any additional

accommodations.

         36.   In early June 2022, Ms. Delahoy was using a 7-gallon stock pot on her

Range to simmer (using the “low” setting) 60 meatballs, 2 racks of spare ribs, 8 chicken

thighs, and Italian sausage in a large volume of homemade spaghetti sauce.




                                           9
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 10 of 50 PageID: 10



       37.    Following the scent, Ms. Delahoy’s dog attempted to hoist itself up on the

 Range to see what was cooking; in doing so, the dog hit the burner knob onto “high.”

       38.    Plaintiff Delahoy noticed the change too late, so everything in the pot

 ended up burning and the pot itself was badly scorched. Had Plaintiff Delahoy not

 noticed that the burner was on high until later, it possibly could have started a fire.

       39.    Before purchasing her Range, Ms. Delahoy did not and could not have

 known that her Range suffered from the Defect. Had Samsung disclosed the Defect

 prior to her purchase of the Range on the product’s packaging, in promotional and

 marketing materials, in the accompanying print materials, or through some other

 means, Ms. Delahoy would not have purchased the Range or would have paid

 substantially less. As a direct result of Samsung’s conduct, Ms. Delahoy has suffered

 significant economic injury.

             FACTUAL ALLEGATIONS COMMON TO THE CLASS

       A.     The Ranges

       40.    The Ranges each have front-mounted knobs that control the cooktop’s

 burners, for example:1




 1
   https://www.samsung.com/us/home-appliances/ranges/electric/ne58f9710ws-slide-
 in-electric-range-with-flex-duo-oven-ne58f9710ws-aa/     (Model        Number
 NE58F9710WS/AA, which is the model owned by Plaintiff Delahoy).

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Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 11 of 50 PageID: 11




         41.   The models at-issue include, but are not limited to: NE58F9500SS,

 NE58F9500SS/AA,          NE58F9710WS,             NE58F9710WS/AA,     NE58H9950WS,

 NE58H9950WS/AA,            NE58K9430SS,            NE58K9430SS/AA,    NE58R9311SS,

 NE58R9311SS/AA, NE63T8511SS, and NE63T8511SS/AA and all models

 containing substantially similar controls.

         42.   The National Home Builders Association states that the useful life of an

 electric range is 13 to 20 years, with 16 years being the average.2

         B.    The Defect

         43.   Consumers reasonably expect that Range burners can only be activated

 by intentional and deliberate action. Stated another way, consumers would not



 2
     https://www.mrappliance.com/expert-tips/appliance-life-guide/.

                                              11
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 12 of 50 PageID: 12



 anticipate that inadvertent contact with the Ranges’ burner controls—while cooking or

 performing other activities in its proximity, or by pets or children—will activate the

 Range burners. However, because of the Defect, inadvertent contact with the burner

 controls may, and has, resulted in unintended activation of the Range burners. Indeed,

 inadvertent contact with burner controls by pets and children has caused burners to

 activate and create fires.3

        44.   Unfortunately, and unbeknownst to consumers, because of the Defect,

 each knob on the Ranges activates a corresponding burner through a single smooth

 motion—a push motion with a twist—requiring minimal force and distance. This

 design is susceptible to unintentional activation rendering the Ranges dangerously

 defective.

        45.   The process to activate a burner should and is intended to be the result of

 two separate and distinct purposeful actions: a first action (pushing the control knob

 in), followed by a second action (rotating the knob to the desired heating level).

        46.   The user manual for the model Range purchased by Ms. Delahoy, for

 instance, describes the activation process as such:




 3
     https://www.youtube.com/watch?v=K2GFZoAW-a0.

                                           12
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 13 of 50 PageID: 13




       47.   However, because of the low detent force and miniscule distance the

 control knobs need to travel to allow users to turn on their cooktops, the burners are

 often inadvertently activated by a single continuous motion.

       48.   All of the Ranges are also uniformly defective because they all fail to

 appropriately guard against unintentional activation. The design of the Ranges puts no

 space between the consumer and the hazard. There are no guards that reduce the risk



                                          13
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 14 of 50 PageID: 14



 of unintentional activation during cleaning or other inadvertent contact made by a user,

 bystander, child, or pet.

       49.    While some of the Ranges may contain an oven handle that could have a

 guarding effect, its design is wholly insufficient to act as an effective guard or barrier.

 As an initial matter, the outermost burner control knobs in each of the Ranges protrude

 further than the oven handles themselves—therefore eliminating any guarding property

 they may have. Moreover, any such guarding effect is further blunted by the oven

 handles’ rounded (rather than squared) design, which permits inadvertent contact.

       50.    The Defect renders Samsung Ranges unusable for their intended central

 purpose: safe cooking. Unintentional activation of the Range burners allows them to

 reach extreme temperatures, creating a fire danger.

       51.    The Ranges are defective at the point of sale. Consumers could not

 reasonably know about the defect at the point of sale and could not discover the defect

 with a reasonable investigation at the time of purchase or delivery because a reasonable

 inspection by a consumer would not reveal whether the materials of the Ranges, the

 design of the Ranges, and/or the manufacturing processes related to the Ranges render

 them unsafe for normal and expected use.




                                            14
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 15 of 50 PageID: 15



         C.    Samsung’s Knowledge of the Defect

         52.   At all relevant times, Samsung knew that the Ranges it marketed and sold

 were prone to unintentional activation, and, therefore, that the Ranges were inherently

 defective, unmerchantable, and unfit for their intended use.

         53.   Consumers submitted incident reports about the Defect to the U.S.

 Consumer Product Safety Commission (“CPSC”)”) as early as 2014. The following is

 a sample of those complaints, which demonstrate that Samsung knew about the Defect

 by at least 2014. The CPSC transmitted all these complaints to Defendants.

         54.   Report sent to Samsung on June 11, 2014:4




         55.   Report sent to Samsung on April 1, 2015:5




 4
     https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1406450
 5
     https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1474926

                                           15
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 16 of 50 PageID: 16




         56.   Report sent to Samsung on March 16, 2017:6




         57.   Report sent to Samsung on August 28, 2017:7




         58.   Report sent to Samsung on July 27, 2020:8



 6
     https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1644104
 7
     https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1688225
 8
     https://www.saferproducts.gov/PublicSearch/Detail?ReportId=1996420

                                          16
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 17 of 50 PageID: 17




         59.   Report sent to Samsung on March 24, 2021:9




         60.   Consumers have also submitted complaints about the Defect directly to

 Samsung via reviews posted to its website. A sampling of those complaints is below.10




 9
     https://www.saferproducts.gov/PublicSearch/Detail?ReportId=3114393
 10
   https://www.samsung.com/us/home-appliances/ranges/electric/ne58f9500ss-slide-
 in-electric-range-ne58f9500ss-aa/; https://www.samsung.com/us/home-
 appliances/ranges/electric/ne58f9710ws-slide-in-electric-range-with-flex-duo-oven-
 ne58f9710ws-aa/; https://www.samsung.com/us/home-
 appliances/ranges/electric/ne58k9430ss-5-8-cu-ft-slide-in-electric-range-
 ne58k9430ss-aa/; https://www.samsung.com/us/home-appliances/ranges/electric/6-
 3-cu-ft-front-control-slide-in-electric-range-with-air-fry-in-stainless-steel-
 ne63t8511ss-aa/.

                                         17
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 18 of 50 PageID: 18




                                      18
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 19 of 50 PageID: 19




                                      19
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 20 of 50 PageID: 20




       61.    Other consumers have taken to the Samsung Community forum to voice

 their frustration with the Defect:11




       62.    In addition, as explained above, certified Samsung appliance technicians

 have observed unintentional activation in Ranges in the field. In fact, the technician




 11
        https://us.community.samsung.com/t5/Kitchen-and-Family-Hub/Knobs-on-
 Range-move-too-Easily-Fire/td-p/2174929

                                          20
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 21 of 50 PageID: 21



 that Samsung sent to repair Plaintiff Delahoy’s Range acknowledged that the Ranges

 were dangerous for this very reason.

        63.   Lastly, Samsung maintains a page on its website titled “Range knobs

 accidentally turn on cooktop too easily.”12 Samsung’s inclusion of a web page

 specifically addressing the problems Plaintiff and the Class experienced further

 confirms that these problems have been known to Samsung.

        D.    Samsung Not Only Failed to Disclose the Defect, Samsung
              Affirmatively Concealed It

        64.   Despite knowledge of the Defect, Samsung has nevertheless repeatedly

 dismissed and denied the Defect.

        65.   A prior iteration of the above page on Samsung’s website—“Range knobs

 accidentally turn on cooktop too easily”—stated that:

        Although our ranges and some of our cooktops come with a Child Lock
        feature, this will not prevent the knobs from turning on the cooktop. This
        can be particularly dangerous with gas cooktops. Although all knobs
        must be made this way to meet international standards, third party
        products are available to address this issue.

        66.    Recently, Samsung updated this webpage to elaborate upon its claims

 that, despite the unintentional activation experienced by Range users, the knobs were




 12
      https://www.samsung.com/us/support/troubleshooting/TSG01203557/

                                            21
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 22 of 50 PageID: 22



 not defectively designed—rather, they are designed as they are for the purported

 purpose of complying with international standards:13

        The knobs on Samsung ranges are designed to meet the requirements set
        by international standards, which requires a two-factor mechanism. This
        means two movements are simultaneously required to turn on an
        element: pushing in and turning. The knob will not turn unless force is
        being applied to push it inwards. All ranges with knobs must meet this
        standard and Samsung is no exception.14

        67.   However, as explained above, the knobs activate Range burners through

 a single smooth motion requiring little force and distance to permit rotation release.

 Indeed, cooktops can be turned on with one continuous motion. This is not required

 by international standards.

        68.   Knowing this, Samsung hedges against its attestations of compliance with

 industry standards by advising consumers to take matters into their own hands and

 purchase third-party cooktop knob covers or locks to remedy the Defect:

        However, there is something you can do. Getting some cooktop knob
        covers [https://www.amazon.com/s?k=cooktop+knob+covers] or locks
        can protect your knobs from accidentally being brushed against. Some
        even offer child-proofing. This is the option we recommend for those
        who are concerned that their cooktop may be too easy to accidentally
        turn on. If at any point you need to replace the knobs, visit
        samsungparts.com to purchase replacements.15




 13
      Id.
 14
      Id.
 15
      Id.

                                          22
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 23 of 50 PageID: 23



        69.   In addition, Samsung also states that owners of the Ranges can purchase

 replacement knobs from Samsung:

        If at any point you need to replace the knobs, visit samsungparts.com
        [https://www.samsungparts.com/PartsList.aspx?Catalog=Parts_and_Ac
        cessories&SearchKey=knob] to purchase replacements.16

        70.   The Samsung web page described above is an express acknowledgement

 and admission that Range burners can be inadvertently activated by normal and

 expected use of the Range, that the Ranges are unsafe at time of sale to consumers, and

 that remedial post-sale remedies are necessary to make the Ranges safe, or at least

 safer, for their intended and expected use.

        71.   Samsung not only knows about the Defect, and has known about it for

 some time, it has taken affirmative steps to conceal the Defect from Plaintiff and the

 Class—and to profit from it.

        E.    Samsung’s Deficient Warranty Service

        72.   Samsung provided a uniform, express one-year factory warranty against

 manufacturing defects in materials and workmanship. Such a warranty was included

 in the user manual for the model Range purchased by Ms. Delahoy:




 16
      Id.
                                           23
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 24 of 50 PageID: 24




       73.    Upon information and belief, Samsung routinely denies warranty claims

 arising from the Defect.

       74.    In addition to the express warranty, Samsung marketed, advertised, and

 warranted that the Ranges were of merchantable quality and fit for their intended

 purpose. Samsung also marketed, advertised, and warranted that the Ranges were free

 from defects and did not pose an unreasonable risk to persons or property. However, a

 range that can be activated unintentionally is not fit for its intended purposes and would

 not pass without objection in the trade.

       75.    Federal law mandates that any manufacturer or seller offering a product

 to customers, whether directly or indirectly, cannot disclaim implied warranties of

 merchantability and fitness for a particular purpose where that manufacturer has made

 an express warranty.

       76.    Samsung has not implemented an effective remedy for consumers who

 are at risk because of the Defect. And despite being made aware of the Defect,

 Samsung has failed to provide effective repairs.


                                            24
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 25 of 50 PageID: 25



       F.     Injuries and Risk of Imminent Harm to Plaintiff and the Class

       77.    Plaintiff and the other Class purchased their Ranges solely for their

 personal, residential purposes and only used the Ranges as intended and in accordance

 with the operating instructions provided by Samsung.

       78.    In light of the Defect, Plaintiff and other Class Members paid far more

 than the reasonable value of the Range, and would have paid substantially less, or not

 have purchased a Range at all, had Samsung adequately disclosed the Defect.

       79.    Samsung has profited and continues to profit from the sale of defective

 Ranges by failing to disclose the above-described Defect and continuing to sell Ranges

 at prices well above their reasonable value.

       80.    As a direct and proximate result of Samsung’s false warranties,

 misrepresentations, and failure to disclose the Defect in these Ranges, Plaintiff and the

 Class have purchased the Ranges and have suffered injury as a result.

       81.    As a direct and proximate result of Samsung’s concealment of the Defect,

 its failure to warn its customers of the Defect and the safety risks posed by the Ranges,

 and its failure to remove the defective Ranges from consumers’ homes or otherwise

 remedy the Defect, Plaintiff and the Class purchased Samsung’s defective and unsafe

 Ranges and, in many cases, use them in their homes to this day. Had Plaintiff and the

 Class known of this serious safety risk, they would not have purchased the Ranges,




                                           25
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 26 of 50 PageID: 26



 would have paid substantially less for their Ranges than they paid, and/or would have

 removed them from their homes as a result of the risk of unintentional activation.

                   TOLLING OF THE STATUTE OF LIMITATIONS

       A.        Discovery Rule

       82.       The causes of action alleged accrued upon discovery of the defective

 nature of the Ranges. Because the Defect is latent, and Samsung concealed it, Plaintiff

 and members of the Class did not discover and could not have discovered the Defect

 through reasonable and diligent investigation. Reasonable and diligent investigation

 did not and could not reveal a factual basis for a cause of action based on Samsung’s

 concealment of the Defects.

       B.        Fraudulent Concealment

       83.       Any applicable statutes of limitation have been tolled by Samsung’s

 knowing, active, and ongoing concealment and denial of the facts as alleged herein.

       84.       Samsung was and is under a continuous duty to disclose to Plaintiff and

 the Class the true character, quality and nature of the Ranges, particularly with respect

 to the serious risks to public safety presented by the Ranges.

       85.       At all relevant times, and continuing to this day, Samsung knowingly,

 affirmatively and actively misrepresented and concealed the true character, quality, and

 nature of the Ranges and sold the Ranges into the stream of commerce as if they were

 safe for use.


                                            26
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 27 of 50 PageID: 27



       86.     Given Samsung’s failure to disclose this non-public information, over

 which Samsung had exclusive control, about the defective nature of the Ranges and

 attendant safety risks—and because Plaintiff and Class Members could not reasonably

 have known that the Ranges were thereby defective—Plaintiff and Class Members

 reasonably relied on Samsung’s assurances of safety. Had Plaintiff and class members

 known that the Ranges pose a safety risk to the public, they would not have purchased

 the Ranges.

       87.     Plaintiff and the Class have been kept ignorant by Samsung of vital

 information essential to the pursuit of these claims, without any fault or lack of

 diligence on their part. Plaintiff and the Class could not reasonably have discovered the

 true, latently defective nature of the Ranges.

       C.      Estoppel

       88.     Samsung was and is under a continuing duty to disclose to Plaintiff and

 the Class the true character, quality, and nature of the Ranges. Samsung knowingly,

 affirmatively, and actively concealed the true character, quality, and nature of the

 Ranges, and the concealment is ongoing. Samsung knew of the Defects and the serious

 safety risk they posed to consumers and has actively concealed them. Plaintiff

 reasonably relied on Samsung’s assurances of safety. For these reasons, Samsung is

 estopped from relying on any statute of limitations in defense of this action.




                                           27
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 28 of 50 PageID: 28



       89.    Additionally, Samsung is estopped from raising any defense of laches due

 to its own conduct as alleged herein.

                           CLASS ACTION ALLEGATIONS

       90.    Plaintiff brings this action on her own behalf and on behalf of the

 following Class and Subclass pursuant to Federal Rules of Civil Procedure 23(a),

 (b)(2), (b)(3) and/or (c)(4):

                                   Nationwide Class

       All residents of the United States and its territories who purchased a new
       Range or otherwise acquired a Range, primarily for household use and
       not for resale.

                                 New York Sub-Class

       All residents of New York who purchased a new Range or otherwise
       acquired a Range, primarily for household use and not for resale. This
       subclass includes any state implied warranty claim that is materially
       identical to New York’s law of implied warranty, any state express
       warranty claim that is materially similar to New York’s law of express
       warranty, and any state consumer fraud claim that is materially similar
       to New York’s law of consumer fraud.

       91.    The Class and the Subclass are referred to collectively as the “Class” for

 convenience. Excluded from the Class and Subclass are Samsung, its affiliates,

 employees, officers, and directors; and the Judge(s) assigned to this case. Plaintiff

 reserves the right to modify, change, or expand the Class definitions above in response

 to discovery and/or further investigation.




                                              28
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 29 of 50 PageID: 29



       92.    Numerosity. Upon information and belief, the class is so numerous that

 joinder of all members is impracticable.        In the first quarter of 2020, Samsung

 accounted for approximately 21.6% of U.S. home appliance sales. And Samsung had

 the second largest market share for cooking appliances, specifically, between 2016 and

 the third quarter of 2019. The Class and Subclass therefore must contain, at the very

 least, thousands of members each.

       93.    Commonality. The answers to questions common to the Class will drive

 the resolution of this litigation. Specifically, resolution of this case will be driven by

 questions relating to the Ranges’ common design, whether the design is defective,

 whether the defective design poses a safety risk, Samsung’s knowledge of the Defect,

 the uniform diminution in value of the Ranges, and the corresponding unjust

 enrichment to Samsung. The common questions of law and fact include, but are not

 limited to, the following:

              a.     Whether the Ranges pose unreasonable safety risks to consumers;

              b.     Whether Samsung knew or should have known, that the products it
                     sold into the stream of commerce pose unreasonable safety risks to
                     consumers;

              c.     Whether Samsung concealed the safety risks its Ranges pose to
                     consumers;

              d.     Whether the safety risks the Ranges pose to consumers constitute
                     material facts that reasonable purchasers would have considered in
                     deciding whether to purchase an electric range;

              e.     Whether the Ranges possess material Defects;

                                            29
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 30 of 50 PageID: 30




              f.     Whether Samsung knew or should have known of the inherent
                     Defects in the Ranges when it placed them into the stream of
                     commerce;

              g.     Whether Samsung concealed the Defects from consumers;

              h.     Whether the existence of the Defects are material facts reasonable
                     purchasers would have considered in deciding whether to purchase
                     a range;

              i.     Whether the Ranges are merchantable;

              j.     Whether the Ranges are fit for their intended use;

              k.     Whether Samsung was unjustly enriched by the sale of defective
                     Ranges to the Plaintiff class;

              l.     whether any false warranties, misrepresentations, and material
                     omissions by Samsung concerning its defective Ranges caused
                     Class Members’ injuries; and

              m.     whether Samsung should be enjoined from further sales of the
                     Ranges.

       94.    Typicality. Plaintiff has the same interest as all members of the classes

 she seeks to represent, and all of Plaintiff’s claims arise out of the same set of facts and

 conduct as all other members of the classes. Plaintiff and all class members own or

 owned a Range designed or manufactured by Samsung with uniform Defects. All the

 claims of Plaintiff and Class Members arise out of Samsung’s placement of a product

 into the marketplace it knew was defective and posed safety risks to consumers, and

 from Samsung’s failure to disclose the known safety risks and Defects. Also typical of

 Plaintiff and Class members’ claims are Samsung’s conduct in designing,

                                             30
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 31 of 50 PageID: 31



 manufacturing, marketing, advertising, warranting, and selling the defective Ranges,

 Samsung’s conduct in concealing the Defects in the Ranges, and Plaintiff’s and Class

 members’ purchase of the defective Ranges.

       95.    Adequacy. Plaintiff will fairly and adequately represent and protect the

 interest of the Class Members: Plaintiff’s interests align with those of the Class

 Members, and Plaintiff has no fundamental conflicts with the Class. Plaintiff has

 retained counsel competent and experienced in products liability, consumer protection,

 and class action litigation, who will fairly and adequately represent the Class.

       96.    Predominance and Superiority. The common questions of law and fact

 enumerated above predominate over the questions affecting only individual members

 of the Class, and a class action is superior to other methods for the fair and efficient

 adjudication of this controversy, as joinder of all members is impracticable. Samsung

 has acted in a uniform manner with respect to the Plaintiff and Class Members.

       97.    Samsung is a sophisticated party with substantial resources, while Class

 Members are not, and prosecution of this litigation is likely to be expensive. Because

 the economic damages suffered by any individual Class Member may be relatively

 modest compared to the expense and burden of individual litigation, it would be

 impracticable for Class Members to seek redress individually for Samsung’s wrongful

 conduct as alleged herein.




                                           31
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 32 of 50 PageID: 32



       98.       The concealed safety risks described above support swiftly and efficiently

 managing this case as a class action, which preserves judicial resources and minimizes

 the possibility of serial or inconsistent adjudications.

       99.       Plaintiff and Class Members have all suffered and will continue to suffer

 harm and damages as a result of Samsung’s unlawful and wrongful conduct. Without

 a class action, Class Members will continue to suffer the undisclosed risks attendant to

 the Ranges and incur monetary damages, and Samsung’s misconduct will continue

 without remedy. A class action is superior to other available methods for the fair and

 efficient adjudication of this controversy.

       100. There will be no undue difficulty in the management of this litigation as a

 class action.

       101. Alternatively, certification may be appropriate as to individual issues as

 those issues will raise common questions applicable to all class members and

 materially advance the litigation.

       102. Ascertainability. The Class is defined by reference to objective criteria,

 and there is an administratively feasible mechanism to determine who fits within the

 Class. The Class consists of purchasers and owners of certain Ranges, and class

 membership can be determined using receipts, photographs, ownership documentation,

 and records in Samsung’s and other databases.




                                               32
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 33 of 50 PageID: 33



          103. Injunctive and Declaratory Relief. Samsung has acted and refused to act

 on grounds that apply generally to the Class, so injunctive and/or declaratory relief is

 appropriate with respect to the entire Class. Samsung made uniform representations

 and warranties to the Class as a whole, Samsung concealed facts from and made

 material misrepresentations to the Class as a whole, and Samsung has destroyed and

 may still be destroying evidence relevant to the allegations of the Class.

                                  CLAIMS FOR RELIEF

                                          Count I
                     Violation of the New Jersey Consumer Fraud Act
                                   N.J.S.A. 56:8-1, et seq.
                           (On Behalf of the Nationwide Class)

          104. Plaintiff incorporates by reference each preceding and succeeding

 paragraph as though fully set forth herein.

          105. Plaintiff brings this claim individually and on behalf of the Nationwide

 Class.

          106. The New Jersey Consumer Fraud Act (N.J.S.A. 56:8-1 et seq.)

 (“NJCFA”) states, in relevant part:

          any unconscionable commercial practice, deception, fraud, false
          pretense, false promise, misrepresentation, or the knowing concealment,
          suppression, or omission of any material fact with intent that others rely
          upon such concealment, suppression or omission, in connection with the
          sale or advertisement of any merchandise. . . .” N.J.S.A. 56:8-2.

          107. Plaintiff and Class Members are consumers who purchased Ranges for

 personal, family, or household use.

                                              33
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 34 of 50 PageID: 34



          108. The advertisement, promotion, distribution, supply, or sale of the Ranges

 is a “sale or advertisement” of “merchandise” governed by the NJCFA.

          109. Before Plaintiff’s and Class Members’ purchase of the Ranges, Samsung

 violated the NJCFA by making:

                a.    uniform representations that its Ranges were of a particular
                      standard, quality, or grade when they were not and are not, and that
                      they would perform as represented when they did not, as set forth
                      above; and

                b.    false and/or misleading statements about the capacity and
                      characteristics of the Ranges, as set forth above, that were unfair,
                      deceptive, or otherwise fraudulent, had and continue to have the
                      capacity to, and did, deceive the public and cause injury to Plaintiff
                      and Class Members.

          110. Samsung, in its communications with and disclosures to Plaintiff and

 Class Members, intentionally concealed or otherwise failed to disclose that the Ranges

 included design Defects that pose a safety risk to consumers and render the Ranges fire

 risks.

          111. Plaintiff and Class Members reasonably expected that the Ranges would

 allow for safe cooking, and not present a fire hazard, both before and at the time of

 purchase, and reasonably expected that Samsung did not design the Ranges to

 incorporate material Defects known to Samsung, and that the Ranges would perform

 as represented by Samsung in its promotional materials, service manuals, and owner’s

 manuals. These representations and affirmations of fact made by Samsung, and the

 facts it concealed or failed to disclose, are material facts that were likely to deceive

                                             34
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 35 of 50 PageID: 35



 reasonable consumers, and that reasonable consumers would, and did, rely on in

 deciding whether to purchase a Range. Moreover, Samsung intended for consumers,

 including Plaintiff and Class Members, to rely on its assurances regarding the Ranges’

 purported safety.

       112. Samsung had exclusive knowledge that the Ranges had and have the

 Defects, which gave rise to a duty to disclose these facts. Samsung breached that duty

 by failing to disclose these material facts.

       113. The injury to consumers by this conduct greatly outweighs any alleged

 countervailing benefits to consumers or competition under all circumstances. There is

 a strong public interest in consumer appliance safety, as well as in truthfully advertising

 and disclosing consumer appliance defects that pose a risk to property and life.

       114. Had Plaintiff and Class Members known about the design Defects and

 accompanying safety risks, and/or that the Ranges did not operate as advertised, they

 would not have purchased the Ranges or would have paid less than they did for them.

 As a direct and proximate result of Samsung’s actions, Plaintiff and Class Members

 have suffered ascertainable loss and other damages.

       115. New Jersey’s substantive laws may be constitutionally applied to the

 claims of Plaintiff and the Nationwide Class Members under the Due Process Clause,

 14th Amend., § 1, and the Full Faith and Credit Clause, art. IV., § 1, of the U.S.

 Constitution.


                                            35
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 36 of 50 PageID: 36



       116. New Jersey has a significant contact, or significant aggregation of

 contacts, to the claims asserted by each Plaintiff, thereby creating state interests that

 ensure that the choice of New Jersey state law is not arbitrary or unfair. Samsung’s

 headquarters and principal place of business are in Ridgefield Park, New Jersey.

 Samsung also owns property and conducts substantial business in New Jersey, and

 therefore New Jersey has an interest in regulating Samsung’s conduct under New

 Jersey’s laws. Samsung’s decision to reside in New Jersey and avail itself of New

 Jersey’s laws render the application of New Jersey law to the claims at hand

 constitutionally permissible.

       117. The application of New Jersey’s laws to the proposed Nationwide Class

 members is also appropriate under New Jersey’s choice of law rules because New

 Jersey has significant contacts to the claims of the Plaintiff and the proposed

 Nationwide Class members, and New Jersey has a greater interest in applying its laws

 here than any other interested State.

                                    Count II
                                      Fraud
  (On Behalf of the Nationwide Class, or Alternatively, the New York Sub-Class)

       118. Plaintiff incorporates by reference each preceding and succeeding

 paragraph as though fully set forth herein.




                                           36
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 37 of 50 PageID: 37



          119. Plaintiff brings this claim individually and on behalf of the Nationwide

 Class or, in the alternative, on behalf of the New York Subclass under New York state

 law.

          120. Samsung made material omissions concerning a presently existing or past

 fact in violation of substantially identical common law. Samsung did not fully and

 truthfully disclose to its customers the true nature of the Defect. A reasonable

 consumer would not have expected the Defect in a new range and especially not a

 Defect that rendered the range unsafe and unusable for ordinary purposes.

          121. Samsung made these omissions with knowledge of their falsity and with

 the intent that Plaintiff and Class Members rely upon them.

          122. The facts concealed, suppressed, and not disclosed by Samsung to

 Plaintiff and Class Members are material in that a reasonable consumer would have

 considered them to be important in deciding whether to purchase Ranges or pay a lesser

 price.

          123. Samsung had a duty to disclose the true quality and reliability of the

 Ranges because the knowledge of the Defect and its details were known and/or

 accessible only to Samsung, Samsung had superior knowledge and access to the

 relevant facts, and Samsung knew the facts were not known to, or reasonably

 discoverable by, Plaintiff and Class Members. Samsung also had a duty to disclose

 because it made many partial representations about the qualities and reliability of its


                                           37
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 38 of 50 PageID: 38



 ranges, which were misleading, deceptive, and incomplete without the disclosure of

 the additional facts set forth above regarding the actual unsafe design of their ranges.

       124. Had Plaintiff and the Class known about the defective nature of the

 Ranges, they would not have purchased the Ranges or would have paid less.

       125. Plaintiff and Class Members reasonably relied to their detriment upon

 Samsung’s material omissions and suffered damages as a result. Samsung’s conduct

 was willful, wanton, oppressive, reprehensible, and malicious. Consequently, based

 upon all the facts as alleged herein, Plaintiff and Class Members are entitled to an

 award of punitive damages.

                                      Count III
             Violations of the New York Deceptive Acts and Practices Act
                            N.Y. Gen. Bus. Law §§ 349, 350
                        (On behalf of the New York Subclass)

       126. Plaintiff incorporates by reference each preceding and succeeding

 paragraph as though fully set forth herein.

       127. Plaintiff Marilyn Delahoy brings this claim under the laws of New York,

 individually and on behalf of the New York Subclass.

       128. New York Class members are “persons” within the meaning of the New

 York General Business Law (“GBL”). N.Y. Gen Bus. Law § 349(h).

       129. Samsung is a “person, firm, corporation or association or agent or

 employee thereof” within the meaning of the GBL. N.Y. Gen Bus. Law § 349(b).



                                           38
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 39 of 50 PageID: 39



       130. Samsung’s conduct as alleged herein occurred in “the conduct of business,

 trade or commerce” within the meaning of GBL section 350.

       131. Under GBL section 349, “[d]eceptive acts or practices in the conduct of

 any business, trade or commerce” are unlawful.

       132. Section 350 also makes unlawful “[f]alse advertising in the conduct of any

 business, trade or commerce[.]” False advertising includes “advertising, including

 labeling, of a commodity . . . if such advertising fails to reveal facts of material in the

 light of . . . representations [made] with respect to the commodity.” N.Y. Gen Bus.

 Law § 350-a.

       133. Samsung’s acts and practices, described herein, are deceptive, misleading,

 oppressive, unconscionable, and substantially injurious in violation of GBL sections

 349 and 350 for the reason stated in paragraphs 183-193, supra.

       134. In the course of Samsung’s business, it failed to disclose and actively

 concealed the Defect with the intent that consumers rely on that concealment in

 deciding whether to purchase a Range.

       135. Samsung’s deceptive acts or practices were materially misleading.

 Samsung’s conduct was likely to, and did, mislead reasonable consumers, including

 Plaintiff Delahoy, about the true performance and value of the Ranges.

       136. Plaintiff Delahoy and the New York Subclass members reasonably relied

 on Samsung’s partial misrepresentations and omissions of material facts when


                                            39
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 40 of 50 PageID: 40



 purchasing Ranges. Plaintiff Delahoy and New York Subclass members were unaware

 of, and lacked a reasonable means of discovering, the material facts that Samsung

 suppressed. Had Ms. Delahoy and New York Subclass members known that the

 Ranges were defective, they would not have purchased Ranges, would not have

 purchased them at the prices they did, or would have returned them during the remorse

 periods.

       137. Samsung’s actions set forth above occurred in the conduct of trade or

 commerce.

       138. Samsung’s misleading conduct concerns widely purchased consumer

 products and affects the public interest. Samsung’s conduct includes unfair and

 misleading acts or practices that have the capacity to deceive consumers and are

 harmful to the public at large.

       139. Plaintiff Delahoy and the New York Subclass members suffered

 ascertainable loss as a direct and proximate result of Samsung’s GBL violations.

 Among other things, Plaintiff Delahoy and the New York Subclass members overpaid

 for their Ranges, and their Ranges suffered a diminution in value. These injuries are

 the direct and natural consequence of Samsung’s material misrepresentations and

 omissions.

       140. Accordingly, Plaintiff Delahoy, individually and on behalf of the New

 York Subclass, requests that this Court enter such orders or judgments as may be


                                         40
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 41 of 50 PageID: 41



 necessary to enjoin Samsung from continuing its unfair and deceptive practices. Under

 the GBL, Plaintiff Delahoy and the New York Subclass members are entitled to recover

 their actual damages or $50, whichever is greater. Additionally, because Samsung

 acted willfully or knowingly, Plaintiff Delahoy and the New York Subclass members

 seek three times their actual damages.

                                      Count IV
                            Breach of Express Warranty
                       (On Behalf of the New York Sub-Class)

       141. Plaintiff incorporates by reference each preceding and succeeding

 paragraph as though fully set forth herein.

       142. Plaintiff Delahoy brings this count on behalf of herself on behalf of the

 New York Sub-Class.

       143. Samsung is and was at all relevant times a merchant and seller of

 appliances including the Ranges within the meaning of N.Y. U.C.C. Law §103(d).

       144. Plaintiff is and was at all relevant times a buyer under N.Y. U.C.C. Law

 §103(d).

       145. The Ranges are and were at all relevant times goods within the meaning

 of N.Y. U.C.C. Law § 102.

       146. Defendant provided all purchasers of the Ranges with an express warranty

 described herein, which became a material part of the bargain. Accordingly,




                                           41
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 42 of 50 PageID: 42



 Defendants’ express warranty is an express warranty under New York law. N.Y.

 U.C.C. Law § 2-313.

       147. Defendants’ Warranty provides in relevant part that the Ranges are

 “warranted by SAMSUNG against manufacturing defects in materials or workmanship

 for the limited warranty period, starting from the date of original purchase, of: One (1)

 Year Parts and Labor.”

       148. The Warranty formed the basis of the bargain that was reached when

 Plaintiff and other members of the Class purchased their Ranges.

       149. Defendants breached the express warranty through the acts and omissions

 described above.

       150. Plaintiff and members of the Class have had sufficient direct dealing with

 either Samsung or its agents (i.e., retailers and technical support) to establish privity of

 contract between Samsung, on one hand, and Plaintiff and each of the other Class

 Members on the other hand. Nonetheless, privity is not required here because Plaintiff

 and each of the other Class Members are the intended third-party beneficiaries of

 contracts between Samsung and its distributors and retailers and, specifically, of

 Samsung’s express warranties.

       151. The distributors and retailers were not intended to be the ultimate

 consumers of the Ranges and have no rights under the warranty agreements provided




                                             42
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 43 of 50 PageID: 43



 with the Ranges; the warranty agreements were designed for and intended to benefit

 the consumer only. See N.Y. U.C.C. Law § 2-318.

       152. Any attempt by Samsung to disclaim or limit recovery to the terms of the

 express warranty is unconscionable and unenforceable here. Specifically, the warranty

 limitation is unenforceable because Samsung knowingly sold defective products

 without informing consumers about the Defect. The time limits are unconscionable and

 inadequate to protect Plaintiff and the members of the Class. Among other things,

 Plaintiff and members of the Class did not determine these time limitations and/or did

 not know of other limitations not appearing in the text of the warranties, the terms of

 which were drafted by Defendants and unreasonably favored Defendants. A gross

 disparity in bargaining power and knowledge of the extent, severity, and safety risk of

 the Defect existed between Samsung and members of the Class.

       153. Further, the limited warranty promising to repair and/or correct a

 manufacturing or workmanship defect fails of its essential purpose because the

 contractual remedy is insufficient to make Plaintiff and the members of the Class

 whole, and because on information and belief, Samsung has failed and/or has refused

 to adequately provide the promised remedies, i.e. a permanent repair, within a

 reasonable time.




                                          43
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 44 of 50 PageID: 44



       154. Plaintiff notified Samsung of the breach. Samsung was also on notice of

 the Defect from the complaints and service requests it received from Class Members,

 including complaints submitted online to Samsung, and through other internal sources.

       155. As a result of Samsung’s breach of the applicable express warranties,

 owners of the Ranges suffered, and continue to suffer, an ascertainable loss of money,

 property, and/or value of their Ranges.

       156. Additionally, as a result of the Defect, Plaintiff and Class Members were

 harmed and suffered actual damages in that the Ranges are substantially certain to

 inadvertently activate and pose a severe risk of fire and burns to Plaintiff and the Class.

       157. As a direct and proximate result of Defendant’s breaches of express

 warranty, Plaintiff and the Class have been damaged in an amount to be proven at trial.

                                      Count V
                  Breach of the Implied Warranty of Merchantability
                       (On behalf of the New York Subclass)

       158. Plaintiff incorporates by reference each preceding and succeeding

 paragraph as though fully set forth herein.

       159. Plaintiff Marilyn Delahoy brings this claim on behalf of the New York

 Subclass, under the N.Y. UCC Law § 2-314.

       160. Samsung is and was at all relevant times a merchant and seller of

 appliances including the Ranges within the meaning of N.Y. U.C.C. Law §103(d).




                                            44
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 45 of 50 PageID: 45



       161. Plaintiff is and was at all relevant times a buyer under N.Y. U.C.C. Law

 §103(d).

       162. The Ranges are and were at all relevant times goods within the meaning

 of N.Y. U.C.C. Law § 102.

       163. A warranty that the Ranges were of merchantable quality and condition

 arises by operation of law with respect to transactions for the purchase of Ranges. N.Y.

 U.C.C. Law § 314. Samsung impliedly warranted that the Ranges were of good and

 merchantable condition and quality, fit for their ordinary intended use, including with

 respect to safety, reliability, operability, and the absence of material defects, and that

 the ranges would pass without objection in the appliance trade.

       164. The Ranges, when sold and at all times thereafter, were not in

 merchantable condition or fit for the ordinary purpose for which ranges are used.

 Specifically, the Ranges were not merchantable in that the Defect renders the ranges

 unfit for ordinary cooking activities.

       165. Samsung was provided notice of the issues complained of herein within a

 reasonable time by numerous complaints online, consumer complaints, and repair

 requests made directly to Samsung.

       166. Plaintiff and the other Class members have had sufficient direct dealings

 with either Samsung or its agents, including its authorized resellers, to establish privity

 of contract between Samsung on the one hand and Plaintiff and each Class member on


                                            45
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 46 of 50 PageID: 46



 the other hand. Regardless, privity is not required here because Plaintiff and each of

 the Class Members are the intended third-party beneficiaries of contracts between

 Samsung and its resellers, and specifically of Samsung’s implied warranties. The

 resellers were not intended to the ultimate consumers of the Ranges and have no rights

 under the warranty agreements provided with the Ranges. The warranty agreements

 were designed for and intended to benefit consumer end-users only.

        167. In its capacity as a supplier and/or warrantor, and in light of the conduct

 described herein, any attempt by Samsung to limit its implied warranty in a manner

 that would exclude or limit coverage for the Defect would be unconscionable.

 Samsung’s warranties were adhesive and did not permit negotiation.              Samsung

 possessed superior and exclusive knowledge of the Defect, which is a latent defect,

 prior to offering Ranges for sale. Samsung concealed and did not disclose the Defect,

 and Samsung did not remedy the Defect prior to sale or afterward. The Ranges are

 defective and substantially certain to present a risk of inadvertent activation throughout

 their useful life.

        168. As a direct and proximate result of the breach of these warranties, Plaintiff

 and the Class Members were injured and are entitled to damages.




                                            46
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 47 of 50 PageID: 47



                                      Count VI
                                Unjust Enrichment
                       (On Behalf of the New York Sub-Class)

       169. Plaintiff incorporates by reference each preceding and succeeding

 paragraph as though fully set forth herein.

       170. Plaintiff Marilyn Delahoy brings this claim on behalf of the New York

 Subclass under New York state law.

       171. Samsung received proceeds from its intentional sale of defective Ranges

 with defective control knobs, which were purchased by Plaintiff and Class Members

 for an amount far greater than the reasonable value of the defective Ranges.

       172. In exchange for the purchase price paid by Plaintiff and Class Members,

 Samsung provided defective Ranges that are likely to pose a material risk of fire within

 their useful lives. This Defect renders the Ranges unfit, and indeed, unsafe for their

 intended use.

       173. Plaintiff and Class Members reasonably believed that the Ranges would

 function as advertised and warranted, and did not know, nor could have known, that

 the Ranges contained Defects at the time of purchase.

       174. Samsung received and is aware of the benefit conferred by Plaintiff and

 Class Members and has retained that benefit despite its knowledge that the benefit is

 unjust.




                                           47
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 48 of 50 PageID: 48



       175. Under the circumstances, permitting Samsung to retain the proceeds and

 profits from the sales of the defective Ranges would be unjust. Therefore, Samsung

 should be required to disgorge the unjust enrichment.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Marilyn Delahoy, individually and on behalf of the

 above defined Class, by and through counsel, pray the Court grant the following relief:

       A.    An Order certifying this action as a class action under Rule 23 of the
             Federal Rules of Civil Procedure;

       B.    An Order appointing Plaintiff Marilyn Delahoy as representative for the
             Class and appointing her counsel as lead counsel for the Class;

       C.    An order awarding Plaintiff Marilyn Delahoy and all other Class Members
             damages in an amount to be determined at trial for the wrongful acts of
             Samsung;

       D.    A Declaration that the Ranges are defective and pose a serious safety risk
             to consumers and the public;

       E.    An Order enjoining Samsung, its agents, successors, employees, and other
             representatives from engaging in or continuing to engage in the
             manufacture, marketing, and sale of the defective Ranges; requiring
             Samsung to issue corrective actions including notification, recall, service
             bulletins, and fully-covered replacement parts and labor, or replacement
             of the Ranges; and requiring Samsung to preserve all evidence relevant to
             this lawsuit and notify Range owners with whom it comes in contact of
             the pendency of this and related litigation;

       F.    Nominal damages as authorized by law;

       G.    Restitution as authorized by law;

       H.    Punitive damages as authorized by law;


                                          48
Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 49 of 50 PageID: 49



       I.    Payment to the Class of all damages associated with the replacement of
             the defective products and parts, in an amount to be proven at trial;

       J.    An order awarding attorney’s fees pursuant to applicable Federal and
             State law;

       K.    Interest as provided by law, including but not limited to pre-judgment and
             post-judgment interest as provided by rule or statute; and

       L.    Any and all other and further relief as this Court deems just, equitable, or
             proper.

                                   JURY DEMAND

       Plaintiff demand a trial by jury on all counts so triable.

                                            Respectfully submitted,

 Dated: June 17, 2022                       /s/ Zachary Arbitman
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Case 2:22-cv-04132-CCC-CLW Document 1 Filed 06/17/22 Page 50 of 50 PageID: 50




                                       *application to appear pro hac vice
                                       forthcoming




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